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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

In re:                                                 Chapter 11

11380 SMITH ROAD LLC                                   Case No. 18-10965 TBM
EIN XX-XXXXXXX

                   Debtors.




                                  NOTICE OF APPEARANCE AND
                              REQUEST FOR SERVICE OF DOCUMENTS

         PLEASE TAKE NOTICE that, pursuant to Section 1109(b) of title 11 of the United

States Code and Rule 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), the undersigned set forth below hereby appears as counsel for 11380 East Smith Rd

Investments, LLC. Request is hereby made, pursuant to Rule 2002 of the Bankruptcy Rules, that

all notices and pleadings given or required to be given, and all papers served or required to be

served, be given and served upon the following person at the mailing addresses and email

addresses indicated below:

                                         Scott C. James, Esq.
                                          Moye White LLP
                                    1400 16th Street, Sixth Floor
                                          Denver, CO 80202
                                     Telephone: (303) 292-2900
                                     Facsimile: (303) 292-4510
                                  Email: Scott.James@moyewhite.com

         PLEASE TAKE FURTHER NOTICE that, the foregoing request includes, not only

notices and papers referred to in Rule 2002 of the Bankruptcy Rules, but also includes, without

limitation, all orders and notices of any applications, petitions, motions, complaints, requests or

demands, hearings, answering or reply papers, memoranda and briefs in support of any of the



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foregoing and any other document (including, without limitation, operating reports, statements of

affairs, schedules of assets and liabilities, disclosure statements and/or plans of reorganization)

filed with, or otherwise brought before, this Court with respect to the above-captioned case,

whether formally or informally, whether written or oral, and whether transmitted or conveyed by

mail, courier service, hand delivery, telephone, facsimile transmission, telegraph, telex or

otherwise.

          This Notice of Appearance and Request for Service of Documents shall not be deemed or

construed as a waiver of the rights (1) to have final orders in non-core matters entered only after

de novo review by a District Court Judge, (2) to trial by jury in any proceeding so triable in this

case or any case, controversy, or proceeding related to this case, (3) to have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, or (4) to

any other rights, claims, actions, defenses, setoffs, or recoupments to which the above-named

entities are or may be entitled, in law or in equity, all of which rights, claims, actions, defenses,

setoffs, and recoupments are expressly reserved.

    Dated: February 20, 2017                         MOYE WHITE LLP


                                                     /s/ Scott C. James
                                                     Scott C. James, Colorado No. 42745
                                                     1400 16th Street, Suite 600
                                                     Denver, CO 80202
                                                     (303) 292-2900
                                                     (303) 292-4510 facsimile
                                                     Scott.james@moyewhite.com
                                                     Counsel for 11380 East Smith                Rd
                                                     Investments, LLC




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                                CERTIFICATE OF SERVICE

       I, Scott C. James, an attorney, hereby certify that on February 20, 2018, a true and correct
copy of the foregoing NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
DOCUMENTS was duly served upon all parties entitled to receive electronic notice via the
Court’s CM/ECF filing system.

                                                            /s/ Scott C. James
                                                            Timothy M. Swanson

 




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